Case 1:18-cr-00083-TSE Document 121 Filed 07/11/18 Page 1 of 2 PageID# 2001
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                     IN THE UNITED STATES DISTRICT COURT FORTHUia JIJL |
                                                                       j p {: 3^
                               EASTERN DISTRICT OF VIRGINIA
                                                                                CLERK US C;!STR!CT COURT
                                         Alexandria Division                     ALEA;;hl :11A. vlAi-INIA

   UNITED STATES OF AMERICA

          V.                                          Case No. 1:18 Cr. 83(TSE)

   Paul J. Manafort, Jr.,

          Defendant.


                                    PRAECIPE FOR SUBPOENA


          It is respectfully requested that the Clerk ofsaid Court issue subpoenas as indicated

   below for appearance before said Court at Alexandria, Virginia, in United States District Court at

   10:00 o'clock a.m., on the 25th day of July, 2018,then and there to testify on behalfofthe

   United States:

                                     100 Blank Subpoenas(50 Sets)

          This JJ_ day ofJuly,2018.
                                                        Respectfully submitted,

                                                        Robert S. Mueller III
                                                        Special Gmnsel


                                                By:
                                                        Greg D. Andresi
                                                        Special Assistant United States Attorney
        Case 1:18-cr-00083-TSE Document 121 Filed 07/11/18 Page 2 of 2 PageID# 2002


AO 89 (Rev.08/09)Subpoena to Testify at a Hearing or Trial in a Criminal Case


                                       United States District Court
                                                                         for the

                                                         Eastern District of Virginia
                   United States ofAmerica
                                  V,
                                                                                   Case No.1:18 Cr. 83(TSE)
                      Paul J. Manafort, Jr.
                             Defendant


                     SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To:




           YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.
Place ofAppearance:'-'•S- district Court                                           Courtroom No.: jydge Ellis, 9th Floor
                            401 Courthouse Square
                            Alexandria, VA 22314                                   Date and Time: j^jy 25, 2OI8,10:00 a.m.

           You must also bring with you the following documents, electronically stored information, or objects(blank ifnot
applicable)'.




          (SEAL)


Date: 7/11/2018
                                                                                   CLERK OF COURT



                                                                                             Signature ofClerk or Deputy Clerk



                                                                                                                      United States
The name,address, e-mail, and telephone number ofthe attomey representing (name ofparty)
                                                     ,who requests this subpoena, are:
           Greg D. Andres, Special Assistant United States Attomey
           Department of Justice — Special Counsel's Office
          950 Pennsylvania Avenue NW
          Washington, DC 20530
          (202)514-0522
